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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

John Doe                                           §
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §
                                                   §             2:22-cv-402
                                                       Case No. _______________
United States Dept. of Transportation              §
1200 New Jersey Avenue SE                          §        COMPLAINT
Washington, DC 20590                               §
                                                   §
Peter P. Buttigieg, U.S. Dept. of Transportation   §
1200 New Jersey Avenue SE                          §
Washington, DC 20590                               §
                                                   §
Blane A. Workie, U.S. Dept. of Transportation      §
1200 New Jersey Avenue SE                          §
Washington, DC 20590                               §
                                                   §
Centers for Disease Control & Prevention           §
1600 Clifton Road NE                               §
Atlanta, Georgia 30333                             §
                                                   §
Rochelle Walensky, CDC                             §
1600 Clifton Road NE                               §
Atlanta, Georgia 30333                             §
                                                   §
United States Dept. of Health & Human Services     §
200 Independence Ave SW                            §
Washington, DC 20201                               §
                                                   §
Xavier Becerra, U.S. Dept. of HHS                  §
200 Independence Ave SW                            §
Washington, DC 20201                               §
                                                   §
        Defendants.                                §
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              PLAINTIFF’S MOTION TO PROCEED UNDER PSEUDONYM
                WITH INCORPORATED MEMORANDUM IN SUPPORT


       Plaintiff requests this Court’s leave to proceed under a pseudonym (“John Doe”).

Plaintiff moves that the Court order his name, signature, address, contact information, and other

personally identifiable information be redacted and/or replaced with “John Doe” in public

records of this case. Plaintiff also moves the Court to order Defendants and their employees to

maintain the confidentiality of Plaintiff’s identity. Plaintiff notes that his name, signature, and

contact information have already appeared on initial filings with the court and requests that these

be redacted and/or replaced with “John Doe” when they are made available to the public.



                           MEMORANDUM OF LAW IN SUPPORT

                                        INTRODUCTION

   1. Plaintiff’s complaint charges that the mask mandate ordered by Defendants unlawfully

       discriminates against persons with disabilities. Plaintiff’s disability is of a psychiatric

       nature. Plaintiff’s disability/mental illness is highly sensitive and intensely personal to

       him, as the symptoms and challenges it presents him are unique and may not make sense

       to the average person.

   2. Plaintiff is concerned that the proceedings may require him to disclose sensitive personal

       and medical information regarding his psychological state. Plaintiff has only revealed his

       diagnosis to a select group of family, friends, and work supervisors. The group of people

       to whom he has revealed specifics about his symptoms is even smaller.

   3. Plaintiff is concerned that given the unusually heated nature of debates around mask

       mandates and COVID-19 policies generally in the United States, both he and any
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   physicians whose names may be exposed during the course of litigation may be subject to

   unwarranted scrutiny and harassment from the general public. The practice of “doxxing”,

   whereby individuals on the internet spend their time trying to find the identities of

   persons involved in cases of great public interest and publish them so they can be

   harassed, is a particular threat here.

4. Plaintiff is concerned that the physicians involved on both sides of the controversy – both

   his personal physicians and those contracted by the airlines – may be subjected to

   unwarranted scrutiny, including unjustified complaints to professional licensing boards

   and devastating negative reviews on the internet. Plaintiff is concerned that if his identity

   is published, the names of the physicians may be found by connection to him, or revealed

   during the course of the case, even if intentionally or inadvertently, and they may be

   subject to unjust professional persecution.

                              ARGUMENT IN SUPPORT

5. It is well-established that courts have discretion to permit parties to proceed under

   pseudonym when special circumstances justify privacy. Courts allow pseudonyms when

   “anonymity is necessary to preserve privacy in a matter of sensitive and highly personal

   nature.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir.

   2000) (quoting James v. Jacobson, 6 F.3d 233, 238 (4th Cir. 1993)).

6. This precedent includes mental health conditions specifically because the “public has an

   interest in preventing the stigmatization of litigants with mental illness[, and] plaintiff's

   identity should be protected in order to avoid deterring people with mental illness from

   suing to vindicate their rights.” Doe v. Unum Life Insurance Co. of America, citing Doe v.

   Provident Life, 176 F.R.D. 464 (E.D. Pa. 1997). This includes district courts in this
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   judicial circuit, which have consistently allowed plaintiffs in cases involving details of

   mental illness to proceed using pseudonyms. Justice or Mental Health . . . Should

   Litigants Have to Choose? Mental Health as a Reason to Proceed Anonymously, 44

   Indiana Law Review 615 (2011).

7. Considerations of mental illness and mental health harms are not the only substantial

   reason justifying proceeding pseudonymously here. Courts have recognized the

   “substantial public controversy” surrounding COVID-19 mandates and policies as a

   factor justifying pseudonyms in cases related to COVID-19 policies. Does v. Mills, 1:21-

   cv-00242-JDL (D. Me. Sep. 2, 2021). In the Doe v. Mills case, the plaintiffs’ identities

   were protected throughout the proceedings all the way up to the Supreme Court.

8. There is little or no reason to disclose Plaintiff’s identity in this case. “When a case raises

   questions that are purely legal there is an atypically weak public interest in the identity of

   the litigants.” Doe v. Provident Life and Acc. Ins. Co., 176 F.R.D. 464, 468 (E.D.Pa.

   1977). As courts have found, “the issue in this case does not turn on the identity of the

   Plaintiff, and the Court presently does not see how denying Plaintiffs' request will

   interfere with the public's right to follow the proceedings, which will be kept open to the

   public while maintaining the confidentiality of the Does’ identities.” Freedom From

   Religion Found., Inc. v. Connellsville Area Sch. Dist., No. 2:12-cv-1406, 2013 WL

   2296075, *2 (W.D. Pa. May 24, 2013). Indeed, “Party anonymity does not obstruct the

   public’s view of the issues joined or the court’s performance in resolving them.” Doe v.

   Stegal, 653 F.2d 180, 185 (5th Cir. 1981).

9. Finally, Defendants are United States government agencies and persons sued in their

   official capacity, and will not be prejudiced by Plaintiff’s use of a pseudonym in
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   publicly-released documents. As previously stated, Plaintiff has no objection to

   Defendants knowing his identity.

10. Courts have found that when suing the government, “the plaintiff’s interest in proceeding

   anonymously is considered particularly strong…In such circumstances the plaintiff

   presumably represents a minority interest (and may be subject to stigmatization), and

   there is arguably a public interest in a vindication of his rights.” Does v. City of

   Indianapolis, 1:06-cv-865-RLY-WTL (S.D. Ind. Aug. 7, 2006). This is certainly true

   here, as Plaintiff represents a minority interest (persons with disabilities) which is be

   subject to stigmatization (certainly true for persons with mental health disorders).

                                     CONCLUSION

For the reasons set forth above, Plaintiff respectfully requests that the Court enter an Order:

1. Granting Plaintiff leave to proceed in this matter under a pseudonym;

2. Ordering that Defendant shall not publicly disclose Plaintiff’s name or personally

   identifying information;

3. Ordering that Plaintiff’s name, address, contact information, and signature be redacted

   and/or replaced with “John Doe” in all publicly released/published documents and

   records where they have already appeared, or may appear in documents not yet filed.

A proposed order follows.
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                                                 Respectfully submitted,




                                                          /s/ John Doe
                                                        Pro Se Plaintiff
